IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

IN THE MATTER OF

DANIEL DEGROAT
ID NO.: 15A2415

 

Defendant.

 

PETITION AND ORDER FOR WRIT OF
HABEAS CORPUS AD PROSEQUENDUM

 

TO: THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT

The Petition of the United States Attorney for the Western District of New York

respectfully states:

The defendant, DANIEL DEGROAT, was involved in a crime against the United
States, a violation of Title 18, United States Code, Section 876(c). He is incarcerated at the

Great Meadow Correctional Facility in Comstock, New York.

WHEREFORE, your petitioner requests that the Clerk be instructed to issue a Writ
of Habeas Corpus Ad Prosequendum to the Federal Bureau of Investigation (FBI) for the
Western District of New York commanding agents of the FBI to take said defendant into

custody and bring him before the United States District Court, City of Buffalo, New York, on
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November 30, 2021 at 11:00 a.m., and, thereafter, said defendant is to be returned to his

place of confinement.

DATED: Buffalo, New York, November 19, 2021.

BY:

IT IS SOMRDERED:

SS

 

TRINI E. ROSS
United States Attorney

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CHORABLE'H. KENNETH SCHROEDER, JR.

United States Magistrate Judge

DATED: November /¥_, 2021.
